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 8                  IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )   1:07-cr-0016 AWI
                                      )
12                                    )   ORDER AUTHORIZING DESTRUCTION
                       Plaintiff,     )   OF DRUG EVIDENCE AFTER 60 DAYS
13                                    )
               v.                     )
14                                    )
                                      )
15   JUAN LUIS ALEMAN, et al.,        )
                                      )
16                     Defendants.    )
                                      )
17                                    )

18

19          In consideration of the government’s request submitted herein

20   requesting a 60 day extension to allow the defense to obtain

21   independent laboratory analysis, if necessary,

22          IT IS HEREBY ORDERED that the DEA shall retain the drug

23   evidence in this case (DEA Exhibit 1, DEA File Number R9-07-0025)

24   for 60 days from the date of this order.

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28   ////

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 1        After 60 days, the DEA is authorized to destroy the drug

 2   evidence, unless and until further order of this Court issues.

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 4   IT IS SO ORDERED.

 5   Dated:   March 23, 2007                 /s/ Anthony W. Ishii
     0m8i78                            UNITED STATES DISTRICT JUDGE
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